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 1                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
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 3                                  )
        United States of America,   ) File No. 21-cr-108
 4                                  )               (PAM/TNL)
                Plaintiff,          )
 5                                  )
        v.                          )
 6                                  )
        Tou Thao(2),                ) Courtroom 7D
 7      J. Alexander Kueng(3), and ) St. Paul, Minnesota
        Thomas Kiernan Lane(4),     ) Thursday, February 24, 2022
 8                                  ) 4:07 p.m.
                Defendants.         )
 9                                  )
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11
                     BEFORE THE HONORABLE PAUL A. MAGNUSON
12                 UNITED STATES DISTRICT COURT SENIOR JUDGE

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              (JURY TRIAL PROCEEDINGS - VOLUME XXII - VERDICT)
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           Proceedings recorded by mechanical stenography;
25     transcript produced by computer.



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 1     APPEARANCES:

 2       For Plaintiff:            UNITED STATES ATTORNEY'S OFFICE
                                   BY: ALLEN A. SLAUGHTER, JR.
 3                                      LEEANN K. BELL
                                        MANDA M. SERTICH
 4                                 300 South 4th Street, #600
                                   Minneapolis, MN 55415
 5
                                   DEPARTMENT OF JUSTICE
 6                                 CIVIL RIGHTS DIVISION
                                   BY: SAMANTHA TREPEL
 7                                 150 M Street NE
                                   Washington, D.C. 20530
 8
         For Defendant             ROBERT M. PAULE, PA
 9       Tou Thao:                 BY: ROBERT M. PAULE
                                   920 2nd Avenue South, #975
10                                 Minneapolis, MN 55402

11                                 PAULE LAW PLLC
                                   BY: NATALIE PAULE
12                                 5100 West 36th Street
                                   P.O. Box 16589
13                                 Minneapolis, MN 55416

14       For Defendant             LAW OFFICE OF THOMAS C. PLUNKETT
         J. Alexander Kueng:       BY: THOMAS C. PLUNKETT
15                                 101 East 5th Street, #1500
                                   St. Paul, MN 55101
16
         For Defendant             EARL GRAY DEFENSE
17       Thomas Kiernan Lane:      BY: EARL P. GRAY
                                   332 Minnesota Street, #W1610
18                                 St Paul, MN 55101

19       Court Reporter:           RENEE A. ROGGE, RMR-CRR
                                   United States District Courthouse
20                                 300 South 4th Street, Box 1005
                                   Minneapolis, MN 55415
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 1                              P R O C E E D I N G S

 2                                 IN OPEN COURT

 3                                  (JURY PRESENT)

 4            (Defendants present)

 5                  THE COURT:    Good afternoon, everyone.

 6                  Members of the jury, have you reached a verdict?

 7                  JURY FOREPERSON:    We have.

 8                  THE COURT:    Would you provide the verdict to the

 9     CSO, please.

10                  Thank you.

11                  Members of the jury and ladies and gentlemen, the

12     verdicts read as follows:

13                  United States of America, plaintiff, versus Tou

14     Thao, defendant.     Count 2, deprivation of rights under color

15     of law, failure to intervene.

16                  We, the jury, unanimously find the defendant Tou

17     Thao guilty of the crime of deprivation of rights under

18     color of law as charged in Count 2 of the indictment.

19                  We, the jury, unanimously find that the offense

20     charged in Count 2 resulted in the death of George Floyd,

21     yes.

22                  Count 3.    We, the jury, unanimously find the

23     defendant Tou Thao guilty of the crime of deprivation of

24     rights under color of law as charged in Count 3 of the

25     indictment.



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 1                 We, the jury, unanimously find that the offense

 2     charged in Count 3 resulted in the death of George Floyd,

 3     and answer yes.

 4                 Dated February 24, 2022, signed jury foreperson.

 5                 Members of the jury, as to the matter of the

 6     United States versus J. Alexander Kueng.

 7                 We, the jury, unanimously find the defendant

 8     J. Alexander Kueng guilty of the crime of deprivation of

 9     rights under the color of law as charged in Count 2 of the

10     indictment.

11                 Then we, the jury, unanimously find that the

12     offense charged in Count 2 resulted in the death of George

13     Floyd, yes.

14                 Count 3.    We, the jury, unanimously find the

15     defendant J. Alexander Kueng guilty of the crime of

16     deprivation of rights under color of law as charged in

17     Count 3 of the indictment.

18                 And then we, the jury, unanimously find that the

19     offense charged in Count 3 resulted in the death of George

20     Floyd, answer yes.

21                 Dated February 24, 2022, signed by the jury

22     foreperson.

23                 The matter of the United States versus Thomas

24     Kiernan Lane, Count 3.

25                 We, the jury, unanimously find the defendant



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 1     Thomas Kiernan Lane guilty of the crime of deprivation of

 2     rights under color of law as charged in Count 3 of the

 3     indictment.

 4                 Then we, the jury, unanimously find that the

 5     offense charged in Count 3 resulted in the death of George

 6     Floyd, answer yes.

 7                 Dated February 24, 2022, signed by the jury

 8     foreperson.

 9                 Members of the jury, is this your verdict, so say

10     you all?

11                 THE JURY:    Yes.

12                 THE COURT:    May the record reflect the unanimous

13     verdict.

14                 Counsel, do you request a polling of the jury?

15                 MR. GRAY:    Yes, Your Honor.

16                 MR. ROBERT PAULE:     Yes, Your Honor.

17                 MR. PLUNKETT:      Yes, Your Honor.

18                 THE COURT:    Members of the jury, I'm now going to

19     be calling your numbers one by one.        As I call your number,

20     please answer truthfully the question, and the question is,

21     Are these your verdicts.

22                 Juror Number 3, are these your verdicts?

23                 JUROR 3:    Yes.

24                 THE COURT:    Juror Number 6, are these your

25     verdicts?



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 1                 JUROR 6:    Yes, sir.

 2                 THE COURT:    Juror Number 11, are these your

 3     verdicts?

 4                 JUROR 11:    Yes.

 5                 THE COURT:    Juror Number 14, are these your

 6     verdicts?

 7                 JUROR 14:    Yes, Your Honor.

 8                 THE COURT:    Juror Number 16, are these your

 9     verdicts?

10                 JUROR 16:    Yes.

11                 THE COURT:    Juror Number 30, are these your

12     verdicts?

13                 JUROR 30:    Yes.

14                 THE COURT:    Juror Number 41, are these your

15     verdicts?

16                 JUROR 41:    Yes.

17                 THE COURT:    Juror Number 43, are these your

18     verdicts?

19                 JUROR 43:    Yes.

20                 THE COURT:    Juror Number 46, are these your

21     verdicts?

22                 JUROR 46:    Yes, sir.

23                 THE COURT:    Juror Number 60, are these your

24     verdicts?

25                 JUROR 60:    Yes, Your Honor.



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 1                 THE COURT:    Juror Number 69, are these your

 2     verdicts?

 3                 JUROR 69:    Yes.

 4                 THE COURT:    Juror Number 70, are these your

 5     verdicts?

 6                 JUROR 70:    Yes, Your Honor.

 7                 THE COURT:    May the record reflect a unanimous

 8     verdict.

 9                 Counsel, is there anything further to come to the

10     court's attention before the jury is discharged?

11                 MR. GRAY:    None from us, Your Honor.

12                 MS. BELL:    No, Your Honor.

13                 THE COURT:    Okay.   With that, members of the jury,

14     may I take this opportunity on behalf of the United States

15     to sincerely thank you for your service as jurors in this

16     case.

17                 I know that jury service is not easy.        I also know

18     that we have interfered with a month of your time or a

19     little bit more now.      And we thank you for being with us.

20     We thank you for your diligence.        We thank you for your

21     effort, and we thank you for doing all of the work that you

22     have done as jurors in this case.

23                 Now what I'm going to say right now is for the

24     first time in a whole month.       I'm not ordering you to do

25     anything, but I'm going to refer you at this time to the



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 1     marshal service.     And I would appreciate it, if the

 2     opportunity should arise shortly, after I do some things

 3     here in the courtroom, that I would have an opportunity to

 4     visit with you for a little bit with respect to various

 5     matters.    So with all of that, thank you so very much for

 6     your service.

 7                 And the jury may be excused.

 8     (4:14 p.m.)

 9                                 IN OPEN COURT

10                              (JURY NOT PRESENT)

11                 THE COURT:    You may be seated.

12                 Counsel, Mr. Smith of the probation officer is

13     here.    And I would order that within the next week each of

14     you, with your clients, meet with the probation office to

15     get started on a presentence investigation report.

16                 When that has been completed, you will have an

17     opportunity to review it, along with your lawyers,

18     potentially even have an evidentiary hearing.

19                 At the conclusion of all that, you will be called

20     back before the court for sentencing.         And, of course, it's

21     extremely important that you appear at the time of

22     sentencing.    Failure to appear can result in a very serious

23     crime with a substantial punishment.        So therefore I would

24     strongly encourage your being here.

25                 With that, the court would order that bond be



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 1     continued according to present terms and conditions.            I

 2     think that's doubly true because I realize you're facing

 3     another matter in the state court, and it's important I

 4     think that you be available to prepare for that.

 5                 Is there anything further to come to our attention

 6     at this point?

 7                 MS. BELL:    Your Honor, the government would

 8     request the opportunity to review the conditions and just in

 9     the event there is something additional to propose to

10     propose it to the court.       I don't expect that there will be,

11     but I know that one of them I haven't seen quite yet.

12                 THE COURT:    Three of them I have not seen quite

13     yet.

14                 MS. BELL:    Okay.   Very good.

15                 THE COURT:    So you and I are in the same boat,

16     but, yes, you will have the opportunity to do that.             But at

17     this point bond will remain according to present terms and

18     conditions.

19                 Okay.   With all of that, I take this opportunity

20     to thank all of you.      And I want to particularly take a

21     moment to say a special "thank you" to the various people

22     that have worked with the court system throughout the

23     pendency of this case, and I appreciate all of the

24     assistance that you've given not only to me, but to my staff

25     and many other people.      And so thank you very much.



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 1                  And with that, we are in recess.

 2               (Court adjourned at 4:17 p.m., 02-24-2022.)

 3                                     *   *   *

 4                I, Renee A. Rogge, certify that the foregoing is a

 5      correct transcript from the record of proceedings in the

 6      above-entitled matter.

 7                            Certified by:        /s/Renee A. Rogge
                                                   Renee A. Rogge, RMR-CRR
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